Case 2:O4-cr-20lOO-.]PI\/| Document 205 Filed 07/08/05 Page 1 of 2 Page|D 299

IN THE UNITED STATES DISTRICT COURT
FOR TI-IE WESTERN DISTR_ICT TENNESSE‘§`LED \N OPEN COURT

 

 

WESTERN DIVIsIoN MTE:F 7{ do§¥*
UNITED sTATEs oF AMERICA, T\ME; l`- *’
Plaintiff, \N\T\ALS:___M'/
VS' No.; 04-20100-1\/11
KYBRIC DoUGLAS,
Defendant_.

 

ORDER ON DEFENDANT KYBRIC DOUGLAS
MOTION TO CONTINUE SENTENCING HEARING

 

This matter came to be heard upon the Motion of the defendant Kybric Douglas
for a continuance of the sentencing hearing in this matter. The Court finds that this

motion is Well taken and should be granted, and this matter should Set for sentencing on

Uu,{f$db:;; Fu,(;/ °',`[',200§ fla '>’.`Bopm,
ITls So oRDERED,thiS 3 day of Ju\\[ ,2005.

/A,Q@’>‘(M
(/ JUDGE

Th!s document entered on the docket sheet In compl!anca
with ama 55 and/or az(b) FRch on /7 "/ -

 

   

UNITED`SATESDTISRIC COURT - WE TERN D'S'TRCT OFTENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

